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IN TI~[E UNITED STATES DISTRICT COURT
FOR TI-[E WESTERN DISTRICT OF TENNESSEE

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B&D PARTNERS, ) @,> m \
Piaimiff, ) ’¢g€?"§` T; 6
) Q%§ § 10
vs. ) N0.04-1332-T/An "°`QF> -'
) .
JACK PAsTIs and cHANTANA s. )
WALKER, lndividually and dfb/a )
CLAsslc RESTORATION, INC., and )
CLAssIc RESTORATION, lNC., )
)
Defendants. )

 

ORDER DENYING MOTION TO SET ASIDE SUMMARY JUDGMENT

 

On April 6, 2005, the Court issued an order granting plaintist motion for summary
judgment; the order was entered on the docket on April 8, 2005. Judgment Was entered on April 13,
2005. On April 26, 2005, defendants filed a motion to set aside the grant of summary judgment,
pursuant to Fed. R. Civ. P. 60(b). Plaintiff has filed a response.

ln the order granting summary judgment, the Court noted that the defendants had failed to
respond to the plaintiff s motion, and had also failed to respond to a Request for Admissions that had
been served upon them by plaintiff Consequently, the matters set forth in the Request for
Admissions, submitted by plaintiff in support of the motion for summary judgment, were deemed
admitted In light of those admissions, which Were unrefuted, the Court concluded that plaintiff was

entitled to judgment as a matter of law.

This document entered on the docket shea in compliance
with nme 58 and/or 79 (a) FncP on 5 _S__ _

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Rule 60(b) provides that a final judgment or order may be set aside for the reasons
enumerated in six subsections The defendants in this case rely upon subsection (l ), which provides:
On motion and upon such terms as are just, the court may relieve a party . . . from a
final judgment, order, or proceeding for the following reasons: (l) mistake,

inadvertence, surprise, or excusable neglect . . . .

A motion under this provision of Rule 60(b) is

intended to provide relief to a party in only two instances: (l) when the party has

made an excusable litigation mistake or an attorney in the litigation has acted without

authority; or (2) when the judge has made a substantive mistake of law or fact in the

final judgment or order.

Cacevic v. Citv of Hazel Park, 226 F.3d 483, 490 (6th Cir. 2000) (quoting Yapp v. Excel Com., 186
F.3d 1222, 1231 (10"‘ Cir. 1999)). “ln order to establish eligibility for relief under Fed. R. Civ. P.
60(b)(l), a moving party must show (l) The existence of mistake, inadvertence, surprise, or
excusable neglect[, and] (2) That he has a meritorious defense.” Rice v. Consol. Rail Corp.. 67 F.3d
300 (Table), 1995 WL 570911, **3 (6'h Cir. Sept. 27, 1995) (citation and internal quotation marks
omitted). The defendants contend that their failure to respond to the motion for summary judgment
was the result of excusable neglect.

Defendants’ counsel of record in this Court is Russell Rice, Jr, Mr. che is the only attorney
who has made an actual appearance for the defendants and the only one whose signature is on the
Notice of Removal and the Answer and Counter-Complaint filed on behalf of the defendants
However, both of those documents also designate the Moffett Law Firrn, PLLC, a law firm in
Mississippi, “Of Counsel.” The defendants state, in their Rule 60(b) motion, that it was T. K.

Moffett who asked Mr. Rice to act as local counsel in this case, and that it was Mr. Moff`ett who

prepared both the Notice of Removal and the Answer and Counter»Complaint. The certificates of

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service on the documents filed on behalf of the plaintiff show that both Mr. Rice and Mr. Moffett
were served, at their current addresses, with copies of plaintiffs Answer and Motion for Summary
Judgment.

The defendants assert that Mr. Rice did not receive his copy of plaintiffs motion for
summary judgment until fifteen days after it was filed “due to relocation of his office and the fact
that mail has to be diverted to him through Memphis as forwarded mail.” (Mot. to Set Aside, at 1.)l
Defendants further assert that, after Mr. Rice finally received the motion for summary judgment, he
assumed that it would be handled by Mr. Moffett. However, Mr. Rice apparently failed to verify that
assumption by actually contacting Moffett’s office until the response time had already expired. Mr.
Rice states that when he finally contacted Moffett’s office, he discovered that defendant Pastis had
been working in Alabama and was therefore “unavailable” to Mr. Moffett prior to the response
deadline, and that Mr. Moffett himself was out of the office for much of the time on active duty with
the military Defendants contends that these are the types of circumstances that Rule 60(b)(l) was
intended to cover. The Court disagrees

ln determining whether there has been excusable neglect, the Court must take the
performance of the client’s attorney into account. United States v. Reyes, 307 F.3d 451 , 456 (6“‘ Cir.

2002). “[C]lients must be held accountable for the acts and omissions of their attorneys.” Pioneer

Inv. Servs. Co. v. Brunswick Assocs Ltd. P’ship, 507 U.S. 380, 396-97 (1993).

 

1 The plaintiff contends that this statement is false and that the Court should require Mr. Rice to submit
proof of this assertion. Whi|e the Court declines to require such specific proof, the Court is puzzled as to why mail
addressed to Mr. Rice’s current office address in Jackson, Tennessee, and mailed in Jackson, would have to be
diverted through Memphis. It would appear logical that only mail addressed to his old office address would be so
diverted However, whether or not Mr. Rice received his copy of the motion for summary judgment fifteen days
late is not critical to the Court’s ruling on the present motion.

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Petitioner voluntarily chose this attorney as his representative in the action, and he

cannot now avoid the consequences of the acts or omissions of this freely selected

agent. Any other notion would be wholly inconsistent with our system of

representative litigation, in Which each party is deemed bound by the acts of his

lawyer-agent and is considered to have ‘notice of all facts, notice of which can be

charged upon the attorney.’ Smith v. Ayer, 101 U.S. 320, 326, 25 L.Ed. 955

[(1879)].
Link v. Wabash R. Co., 370 U.S. 626, 633-34 (1962). The defendants chose Mr. Moffett to
represent them in this matter and Mr. Moffett associated Mr. Rice as local counsel. Therefore, the
defendants are bound by the acts and/or omissions of both attorneys

The defendants’ motion to set aside is based primarily on the belief that it was solely Mr.
Moffett’s responsibility to respond to the motion for summary judgmentl However, as stated, Mr.
Rice is counsel of record in this case, not Mr. Moffett. Even accepting Mr. Rice’s assertion that he
received the motion fifteen days late, it would have been a simple matter to file a motion for an
extension of time to respond if either Mr. Moffett or defendant Pastis were unavailable However,
Mr. Rice admittedly did nothing, contacting Mr. Moffett’s office only when he realized that a
response had not been filed. Mr. Rice does not indicate when he came to that realization, nor does
he specify the date of his telephone call to Moffett’s office.

The response to the motion for summary judgment was due on February 10, 2005, g Fed.
R. Civ. P. 6(a) & (e). However, the Court did not issue a ruling until April 6, 2005. Thus, there
should have been ample time to seek permission from the Court to file a late response to the motion
after counsel realized no response had been filed. That is, unless counsel came to that realization

only after the Court issued its ruling. Either way, Mr. Rice simply ignored the plaintiff s motion for

summary judgment until it was too late.

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The failure to respond to a motion for summary judgment or to request an extension of time

to do so constitutes inexcusable neglect Cacevic, 226 F.3d at 490-91 (citing Kendall v. Hoover Co.,

 

751 F.2d l7l, 175 (6th Cir. 1984)).

Denial of a Rule 60(b) motion to set aside a dismissal under clause (l) is not an abuse

of discretion when the proffered justification for relief is the “inadvertent mistake”

of counsel. Gross carelessness ignorance of the rules, or ignorance of the law are

insufficient bases for 60(b)(l) relief. . . . In fact, a court would abuse its discretion

if it were to reopen a case under Rule 60(b)(l) When the reason asserted as justifying

relief is one attributable solely to counsel’s carelessness . . .
FHC Eguities, L.L.C. v. MBL Lif`e Assur. Co;p., 188 F.3d 678, 685 (6“‘ Cir. 1999) (quoting Edward
H. Bohlin Co. v. Banning Co.. 6 F.3d 350, 356-57 (5th Cir. 1993).

The Court finds that, given the circumstances of this case, the defendants have failed to
establish that the failure to respond to the plaintiffs motion for summary judgment was the result
of excusable neglect. Therefore, relief under Rule 60(b)(l) is not warranted Accordingly, the

defendants’ motion to set aside summary judgment is DENIED.

IT IS SO ORDERED.

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case l:04-CV-01332 was distributed by fax, mail, or direct printing on
May 9, 2005 to the parties listed.

 

 

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Honorable .l ames Todd
US DISTRICT COURT

